             Case 3:10-cr-05407-RJB         Document 68        Filed 08/26/10    Page 1 of 1



 1
                                                                                Judge Robert J. Bryan
 2

 3
                             IN THE UNITED STATES DISTRICT COURT
 4                             WESTERN DISTRICT OF WASHINGTON
                                         AT TACOMA
 5

 6   UNITED STATES OF AMERICA,                      )
                                                    )
 7                          Plaintiff,              ) No.: CR10-5407 RJB
                                                    )
 8                vs.                               ) ORDER SEALING EXPARTE AFFIDAVIT
                                                    ) OF COUNSEL IN SUPPORT OF
 9                                                  ) WITHDRAWAL AND SUBSTITUTION
                                                    )
10   RANDY SCOTT CHALUPA,                           )
                                                    )
11                           Defendant.             )
12   __________________________________
13

14
            All materials filed regarding defendant’s motion for order allowing withdrawal and
15

16
     substitution of counsel having been fully considered, the Court now rules as follows;

17          It is hereby ORDERED that the Clerk of the Court will file the Affidavit of Attorney

18   James B. Feldman in support of motion to withdraw under seal.
19          DATED this 26th day of August, 2010.
20

21

22
                                          A
                                          ROBERT J. BRYAN
                                          United States District Judge
23

24

25

26
